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          IN THE UNITED STATES DISTRICT COURT FOR THE

                    WESTERN DISTRICT OF OKLAHOMA


UNITED STATES OF AMERICA,              )
                                       )
                    Plaintiff,         )
                                       )
             -vs-                      ) No. CR-20-240-F
                                       )
BOBBY CHRIS MAYES,                     )
                                       )
                    Defendant.         )

UNITED STATES’ MOTION TO REVOKE CONDITIONS OF RELEASE
            AND ISSUE WARRANT FOR ARREST

     COMES NOW the plaintiff, United States of America, by Robert J.

Troester, United States Attorney for the Western District of Oklahoma,

through Thomas Snyder, Assistant United States Attorney, and respectfully

requests, pursuant to Title 18, United States Code, Section 3148, that the

Court revoke the conditions of release set in this matter and issue a warrant

for the immediate arrest of Defendant Bobby Chris Mayes. In support of said

motion, the United States would state as follows:

     1.      On September 16, 2020, a federal grand jury indicted Bobby Chris

Mayes, Charles Gooch, and Courtney Wells on twenty-five counts, including

Conspiracy to Commit Wire Fraud (Count 1) in violation of 18 U.S.C. § 1349;

Wire Fraud (Counts 2–13) in violation of 18 U.S.C. § 1343; Uttering Forged
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Securities (Counts 14–19) in violation of 18 U.S.C. § 513(a) and Aggravated

Identity Theft (Counts 20-25) in violation of 18 U.S.C. § 1028A(a)(1). (Doc. 1.)

      2.      On September 22, 2020, United States Magistrate Judge Gary

Purcell ordered that Defendant Bobby Chris Mayes be released on conditions.

(Doc. 28–30.) Those conditions include that the defendant must not violate any

federal, state, or local law while on release and that he not possess a firearm.

(Doc. 29.)

      3.      On November 3, 2021, all three defendants proceeded to trial. On

November 19, 2021, the jury returned its verdicts – guilty as to Mr. Mayes and

Mr. Gooch on all counts, and guilty as to Ms. Wells on Counts 1, 3, 4, 7–10 and

14–25. The jury returned not guilty verdicts as to Ms. Wells on Counts 2, 5, 6,

11, 12, and 13.

      4.      Afterwards, the Defendants filed a series of motions challenging

the verdict, including motions for acquittal and a motion for new trial based on

alleged government misconduct. Those motions were set for hearing on May

10, 2022. (Doc. 211.)

      5.      On May 9, 2022, counsel for Mr. Mayes filed a motion to continue

a scheduled hearing based on new developments and newly discovered

evidence that counsel believed would give rise to additional grounds for a new

trial. (Doc. 221.) Defendant Mayes’ motion raised a number of issues, but was

primarily based on two groups of e-mails, one group that was allegedly


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authored prior to the trial in this matter, some dating back to 2013, and

another two e-mails there were allegedly authored by Wells and e-mailed on

May 3, 2022.

      6.      On October 24, 2022, Wells and her boyfriend, Brandon Landers,

were found in Mexico and taken into custody by Mexican law enforcement.

      7.      On October 25, 2022, Wells and Landers arrived in Houston,

Texas, and were taken into custody by the FBI. Both individually confirmed

that Mr. Mayes was involved in the planning of their flight and indeed the plan

was for all three of them to leave and go to Mexico in May. In fact, Mr. Mayes

researched and found the border crossing in McAllen, Texas that Wells and

Landers used. According to Landers, they spoke with Mr. Mayes every day

leading up to their leaving and Mr. Mayes arranged for the purchase of

Landers’ truck so they would have additional money when they left and told

them he would give them around $40,000.00.            In addition, Mr. Mayes

purchased a gun from Landers before they left.

      8.      Both Wells and Landers confirmed they left on May 2, 2022, which

is corroborated by their phone records. They travelled to Texas that day and

crossed the border on May 3, 2022. The plan was for Mr. Mayes to follow them.

Mr. Mayes contacted them on the afternoon of May 3 to confirm they had made

it to Mexico. Following that, they maintained contact with Mayes via email.

As recently as last week, he led them to believe he may have also been in


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Mexico at that time. Mr. Mayes at times helped arrange to get them money to

assist in their flight.

      9.      Wells and Landers have both indicated the e-mails serving as the

basis of Mr. Mayes’s motion are fake. At least with regards to the May 3, 2022,

emails allegedly from Wells, this is corroborated by the phone and Google

records, which show that Wells and Landers left on May 2 and that the emails

were sent from Native Harvest Dispensary or Oklahoma Motor Cars, where

Mr. Mayes works, on May 3, 2022.

      10.     As such, Mr. Mayes has violated his conditions of his pre-sentence

release by possessing a firearm. Furthermore, he has violated his conditions

by committing another federal crime—to include 18 U.S.C. § 922(n) (receiving

a firearm while under indictment), and 18 U.S.C. 1512 (tampering with or

attempting to interfere in an official proceeding).




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      11.   For the above stated reasons, pursuant to 18 U.S.C. § 3148(b), the

United States respectfully requests that a warrant be issued for Defendant

Bobby Chris Mayes arrest, that he be brought before this Court immediately

thereafter for a bond violation hearing regarding revocation of said Order of

Release, and that his bond be revoked.


                                           Respectfully submitted,

                                           ROBERT J. TROESTER
                                           United States Attorney


                                           s/ THOMAS B. SNYDER
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                       CERTIFICATE OF SERVICE

      I hereby certify that on October 25, 2022, I electronically transmitted the
attached document to the Clerk of Court using the ECF System for filing and
transmittal of a Notice of Electronic Filing to the following ECF registrants:

            For Defendant, Bobby Chris Mayes:
            W. Brett Behenna
            Michelle L. Greene
            William H. Bock
            Vicki Zemp Behenna
            Rachel Jordan
                                        s/ THOMAS B. SNYDER
                                        Assistant United States Attorney


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